          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION

                       CRIMINAL NO. 2:04CR93-1


UNITED STATES OF AMERICA )
                         )
                         )
         vs.             )                     ORDER
                         )
JOHN WESLEY BLACKMON, JR.)
                         )


     THIS MATTER is before the Court on remand from the Fourth Circuit

Court of Appeals for resentencing pursuant to the instructions contained

therein. See, United States v. Blackmon, 2006 WL 1308636 (4th Cir.

2006).

     IT IS, THEREFORE, ORDERED that this matter is hereby scheduled

for resentencing on THURSDAY, AUGUST 10, 2006, AT 10:00 AM, at the

U.S. Courthouse in BRYSON CITY, North Carolina.

     IT IS FURTHER ORDERED that the Federal Defender appoint

counsel to represent the Defendant at resentencing. A revised

presentence report is not necessary for this hearing.

     IT IS FURTHER ORDERED that the United States Marshal make

arrangements to have the Defendant transported from his place of


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incarceration to the hearing and return him thereto after resentencing. The

United States Marshal shall ensure that the Defendant arrives in this

District prior to the hearing date in order that he may be afforded adequate

opportunity to confer with counsel in preparation for the resentencing

hearing.

      The Clerk of Court is directed to transmit a copy of this Order

electronically to defense counsel, the United States Attorney, the United

States Marshal, and the United States Probation Office, and a copy to the

Defendant by United States Mail.

      IT IS FURTHER ORDERED that the United States Marshal notify the

Clerk’s Office upon receipt of this Order.


                                             Signed: June 13, 2006




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